               Case 23-11069-CTG              Doc 1120       Filed 11/10/23        Page 1 of 2




                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE

 In re:
                                                        Chapter 11
                                          1
 YELLOW CORPORATION, et al.,
                                                        Case No. 23-11069 (CTG)
                  Debtors.
                                                        Jointly Administered


                             NOTICE OF SERVICE OF DISCOVERY

          I, Frederick B. Rosner, hereby certify that, on November 10, 2023, a copy of First Set of

Interrogatories, Requests for Admissions and Requests for Production Propounded by Plaintiff

was caused to be served on the following parties in the manner prescribed below:

                                           Via Mail and Electronic Mail

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   A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
proposed claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of Debtors’
principal place of business and the Debtors’ service address in these chapter 11 cases is: 11500 Outlook Street,
Suite 400, Overland Park, Kansas 66211.



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               Case 23-11069-CTG   Doc 1120   Filed 11/10/23   Page 2 of 2




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